Case: 24-30651   Document: 36   Page: 1   Date Filed: 01/09/2025

                        No. 24-30651

In the United States Court of Appeals
        for the Fifth Circuit
      ASTRAZENECA PHARMACEUTICALS, L.P.,
                                Plaintiff-Appellant,
                            v.
        LIZ MURRILL, in her official capacity as
        Attorney General of the State of Louisiana,
                                Defendant-Appellee,
                            and
     LOUISIANA PRIMARY CARE ASSOCIATION,
                        Intervenor-Defendant-Appellee.

           On Appeal from the U.S. District Court
            for the Western District of Louisiana
       No. 6:23-cv-1042 (Hon. Robert R. Summerhays)
            APPELLANT’S OPENING BRIEF

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        Case: 24-30651    Document: 36       Page: 2   Date Filed: 01/09/2025




              CERTIFICATE OF INTERESTED PERSONS

      Pursuant to Fifth Circuit Rule 28.2.1, undersigned counsel certifies that

the following listed persons and entities as described in the fourth sentence of

Rule 28.2.1 have an interest in the outcome of this appeal. These

representations are made in order that the judges of this Court may evaluate

possible disqualification or recusal.

      Plaintiff-Appellant AstraZeneca Pharmaceuticals L.P. AstraZeneca

Pharmaceuticals L.P. is a limited partnership and an indirectly wholly owned

subsidiary of AstraZeneca plc, which is a public company organized under the

laws of England and Wales and is publicly traded. No other publicly held

company owns 10% or more of the voting interest in AstraZeneca

Pharmaceuticals L.P. The following attorneys have represented AstraZeneca

Pharmaceuticals L.P. in this case:

            Jeffrey Handwerker, Allon Kedem, Stephen Wirth, and Samuel
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            Diana Surprenant of Adams & Reese.


Dated: January 9, 2025                        /s/ Allon Kedem
                                              Allon Kedem

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                                              Pharmaceuticals L.P.




                                         i
          Case: 24-30651   Document: 36        Page: 3   Date Filed: 01/09/2025




              STATEMENT REGARDING ORAL ARGUMENT

     Due to the importance and complexity of the issues presented, Appellant

AstraZeneca Pharmaceuticals L.P. respectfully requests oral argument in this

matter.




                                          ii
           Case: 24-30651            Document: 36             Page: 4     Date Filed: 01/09/2025




                                      TABLE OF CONTENTS

CERTIFICATE OF INTERESTED PERSONS .............................................. i

STATEMENT REGARDING ORAL ARGUMENT ....................................... ii

TABLE OF CONTENTS ..................................................................................... iii

TABLE OF AUTHORITIES ................................................................................v

JURISDICTIONAL STATEMENT ....................................................................1

STATEMENT OF THE ISSUES ........................................................................1

INTRODUCTION ..................................................................................................2

STATEMENT OF THE CASE ............................................................................4

        A.       The Federal 340B Program and Contract Pharmacy Abuse ........4

        B.       Louisiana Enacts Legislation Mandating 340B Discounts for
                 Unlimited Contract Pharmacy Sales ..............................................13

        C.       Procedural History ...........................................................................15

SUMMARY OF ARGUMENT ............................................................................17

STANDARD OF REVIEW .................................................................................20

ARGUMENT .........................................................................................................21

I.      Act 358 Is Preempted by Federal Law.....................................................21

        A.       No Presumption against Preemption Applies...................................21

        B.       Act 358 Regulates Pricing ................................................................25

        C.       Act 358 Is Preempted by Section 340B ..........................................30

II.     Act 358 Violates the Contracts Clause ......................................................35

        A.       Act 358 Impairs AstraZeneca’s PPA ..............................................38



                                                        iii
           Case: 24-30651            Document: 36            Page: 5      Date Filed: 01/09/2025




        B.       Defendants Have Not Demonstrated that Act 358 Is
                 Reasonably Tailored to Serve a Significant and Legitimate
                 Public Purpose ...................................................................................44

CONCLUSION......................................................................................................48

CERTIFICATE OF SERVICE ..........................................................................49

CERTIFICATE OF COMPLIANCE ................................................................50




                                                        iv
           Case: 24-30651            Document: 36            Page: 6       Date Filed: 01/09/2025




                                   TABLE OF AUTHORITIES

Constitutional Provisions                                                                                Page(s)

U.S. Constitution, Article VI, Clause 2 ............................................................... 21

Cases

Aldridge v. Miss. Dep’t of Corr.,
  990 F.3d 868 (5th Cir. 2021) ............................................................................. 21

Allied Structural Steel Co. v. Spannaus,
   438 U.S. 234 (1978).......................................................................... 36, 41, 42, 43

Apartment Ass’n of Los Angeles, Cnty., Inc. v. City of Los Angeles,
  10 F.4th 905 (9th Cir. 2021) ............................................................................. 46

Assn. of Equip. Mfrs. v. Burgum,
  932 F.3d 727 (8th Cir. 2019) ............................................................................. 46

Astra USA, Inc. v. Santa Clara Cnty.,
  563 U.S. 110 (2011).............................................................................................. 5

AstraZeneca Pharms. LP v. Becerra,
  543 F. Supp. 3d 47 (D. Del. 2021) .................................................................... 12

AstraZeneca Pharms. LP v. Becerra,
  No. 1:21-cv-27, 2022 WL 484587 (D. Del. Feb. 16, 2022) .............................. 12

Barosse v. Huntington Ingalls, Inc.,
  70 F.4th 315 (5th Cir. 2023) ............................................................................. 20

Biotechnology Industry Organization v. District of Columbia,
  2006 WL 3382103 (Oct. 30, 2006)..................................................................... 24

Biotechnology Industry Organization v. District of Columbia,
  496 F.3d 1362 (Fed. Cir. 2007) ........................................................................ 24

Buckman Co. v. Plfs.’ Legal Comm.,
  531 U.S. 341 (2001).................................................................... 18, 22, 30, 32, 33




                                                         v
           Case: 24-30651            Document: 36             Page: 7      Date Filed: 01/09/2025




Crosby v. Nat’l Foreign Trade Council,
  530 U.S. 363 (2000)...................................................................................... 30, 33

Eastman Kodak Co. v. Image Technical Servs., Inc.,
  504 U.S. 451 (1992)............................................................................................ 45

Felder v. Casey,
   487 U.S. 131 (1988)............................................................................................ 21

Hernandez v. Mesa,
  589 U.S. 93 (2020).............................................................................................. 35

Janvey v. Democratic Senatorial Campaign Comm., Inc.,
  712 F.3d 185 (5th Cir. 2013) ............................................................................. 34

Jones v. Bd. of Supervisors of Univ. of La. Sys.,
  58 F. Supp. 3d 670 (W.D. La. 2014) ................................................................ 37

Keystone Bituminous Coal Ass’n v. DeBenedictis,
  480 U.S. 470 (1987)............................................................................................ 47

Lofton v. McNeil Consumer & Specialty Pharms.,
  672 F.3d 372 (5th Cir. 2012) ............................................................................. 22

Norris v. Hearst Trust,
  500 F.3d 454 (5th Cir. 2007) ............................................................................... 8

Novartis Pharms. Corp. v. Johnson,
  102 F.4th 452 (D.C. Cir. 2024) ................................... 3, 9, 13, 27, 28, 31, 38, 43

Pharm. Care Mgmt. Ass’n v. Wehbi,
  18 F.4th 956 (8th Cir. 2021) ............................................................................. 23

PhRMA v. McClain,
  95 F.4th 1136 (8th Cir. 2024) ......................................................... 21, 23, 28, 29

PhRMA v. Morrisey,
  No. 2:24-cv-271, 2024 WL 5147643 (S.D.W. Va. Dec. 17, 2024) ................... 29

Powers v. United States,
  783 F.3d 570 (5th Cir. 2015) ............................................................................. 37


                                                         vi
            Case: 24-30651              Document: 36              Page: 8       Date Filed: 01/09/2025




Sanofi Aventis U.S. LLC v. HHS,
  58 F.4th 696 (3d Cir. 2023) ............................................... 3, 6, 12, 31, 35, 38, 43

Sveen v. Melin,
  584 U.S. 811 (2018)...................................................................................... 38, 39

United Healthcare Ins. Co. v. Davis,
  602 F.3d 618 (5th Cir. 2010) ........................................................... 36, 37, 44, 45

Wyeth v. Levine,
  555 U.S. 555 (2009)............................................................................................ 23

Statutes

42 U.S.C.
   § 256b............................................................................................................ 1, 2, 4
   § 256b(a)(1) .............................................................................................. 5, 36, 38
   § 256b(a)(4)(I) ...................................................................................................... 6
   § 256b(a)(4)(A)-(O) .............................................................................................. 6

D.C. Code § 28-4553 ............................................................................................... 24

La. R.S.
  40:1060.13(A) ..................................................................................................... 26
  40:2882(1) ................................................................................................. 3, 14, 25
  40:2882(2) ........................................................................................................... 14
  40:2883 ................................................................................................................ 14
  40:2884(A) ................................................................................................ 3, 15, 25
  40:2883(A)(1)(a) ................................................................................................. 25
  40:2884(B) .......................................................................................................... 15
  40:2885 .......................................................................................................... 15, 25
  51:1407(A) .......................................................................................................... 15
  51:1407(B) .......................................................................................................... 15
  51:1408(A) .......................................................................................................... 15
  51:1417 ................................................................................................................ 15

Regulations & Rules

61 Fed. Reg. 43,549 (Aug. 23, 1996) ....................................................................... 7

75 Fed. Reg. 10,272 (Mar. 5, 2010) ......................................................................... 7

                                                            vii
           Case: 24-30651             Document: 36           Page: 9        Date Filed: 01/09/2025




Fed. R. Civ. P. 56(d) .............................................................................................. 47

La. Admin. Code tit. 46, pt. LIII § 2705(F)(4).................................................... 26

Legislative Materials

H.R. Rep. No. 102-384 (1992) ................................................................................. 5

2023 La. Sess. Law Serv. ...................................................................................... 13

Other Authorities

Adam J. Fein, Drug Channels Inst., Exclusive: For 2023, Five
  For-Profit Retailers and PBMs Dominate an Evolving 340B
  Contract Pharmacy Market (Jul. 11, 2023) ..................................................... 8

HHS-OIG, Memorandum Report: Contract Pharmacy Arrangements
  in the 340B Program, OEI-05-13-00431 (Feb. 4, 2014) ................................ 46




                                                         viii
       Case: 24-30651    Document: 36       Page: 10   Date Filed: 01/09/2025




                    JURISDICTIONAL STATEMENT

      The district court had jurisdiction under 28 U.S.C. § 1331. On September

30, 2024, the district court granted a motion for summary judgment. Appellant

timely filed a notice of appeal on October 7, 2024. ROA.1004. This court has

jurisdiction under 28 U.S.C. § 1291.

                        STATEMENT OF THE ISSUES

      Section 340B of the federal Public Health Service Act, 42 U.S.C. § 256b,

requires drug manufacturers to enter into contracts with the Secretary of

Health and Human Services, in which the manufacturer agrees to offer its

products at discounted rates to a defined list of covered entities. Louisiana

Act 348 requires any manufacturer participating in the 340B program to make

discounts available for drug sales made through an unlimited number of

pharmacies, with which a covered entity may choose to contract.

      The issues presented are:

      1.    Whether Louisiana Act 348 is preempted by Section 340B because

it rebalances the benefits and burdens of participating in the federal 340B

program.

      2.    Whether Louisiana Act 348 violates the Contracts Clause because

it imposes new and unjustified obligations on manufacturers that go beyond

those the manufacturer agreed to under its contract with the HHS Secretary.

                                        1
       Case: 24-30651    Document: 36       Page: 11   Date Filed: 01/09/2025




                              INTRODUCTION

      Section 340B of the federal Public Health Service Act, 42 U.S.C. § 256b,

requires participating manufacturers to “offer” their products at steeply

discounted rates to an enumerated and clearly defined list of covered entities.

Access to these 340B discounts is valuable to covered entities—and costly to

manufacturers—and Congress carefully limited the circumstances in which

such discounts must be made available. A number of manufacturers, including

plaintiff AstraZeneca Pharmaceuticals L.P., sued the federal government to

establish that Section 340B does not require manufacturers to make discounts

available for drug sales at unlimited commercial pharmacies that contract with

covered entities (known as “contract pharmacy sales”).

      Louisiana took the opposite side of that dispute. As an amicus, it argued

that manufacturers who “limit[] 340B covered entities to using a single retail

community pharmacy” are thereby “flout[ing] their statutory obligation to offer

safety-net providers 340B-discounted prices on critical prescription drugs.” Br.

of Amici Curiae States at 2, Novartis Pharms. Corp. v. Johnson, Nos. 21-5299

& 21-5304 (D.C. Cir. May 23, 2022). But multiple federal courts have now ruled

that participating manufacturers’ obligation to “offer” discounts under the 340B

program does not “require[] drug makers to deliver [340B-discounted] drugs to



                                        2
       Case: 24-30651    Document: 36       Page: 12   Date Filed: 01/09/2025




an unlimited number of contract pharmacies.” Novartis Pharms. Corp. v.

Johnson, 102 F.4th 452, 461 (D.C. Cir. 2024); accord Sanofi Aventis U.S. LLC

v. HHS, 58 F.4th 696, 706 (3d Cir. 2023).

      Having unsuccessfully advocated for requiring manufacturers to provide

340B discounts for unlimited contract pharmacy sales under Section 340B,

Louisiana enacted a law aimed at imposing the same obligation under state law.

In June 2023, the Legislature enacted the “The Defending Affordable

Prescription Drug Costs Act.” Referred to as Act 358, the law forbids a

manufacturer from “deny[ing], restrict[ing], prohibit[ing], or otherwise

interfer[ing] with, either directly or indirectly, the acquisition of a 340B drug

by, or delivery of a 340B drug to, a pharmacy that is under contract with a

340B entity.” La. R.S. 40:2884(A). Since the Act defines a 340B drug as “a drug

that has been subject to any offer for reduced prices by a manufacturer

pursuant to 42 U.S.C. 256b,” La. R.S. 40:2882(1), the law’s purpose and effect

is to require participating manufacturers to make 340B discounts available for

unlimited contract pharmacy sales.

      Act 358 is unconstitutional, on two independent grounds. First, the Act

conflicts with, and is therefore preempted by, Section 340B. The new obligations

imposed by the Act apply to manufacturers if, but only if, they participate in the



                                        3
       Case: 24-30651    Document: 36       Page: 13   Date Filed: 01/09/2025




federal 340B program. But that violates preemption principles under the

Supremacy Clause: No State, including Louisiana, may engraft costly

obligations under state law onto an existing federal benefits program. By

extending 340B-discounted pricing to unlimited contract pharmacy sales—

discounts not required by Section 340B itself—Act 358 drastically increases

manufacturers’ costs of participating in the 340B program, undermining

Congress’s careful balance of statutory objectives.

      Second, Act 358 violates the Contracts Clause, because it imposes new

obligations that go well beyond what AstraZeneca agreed to when it contracted

with the Secretary of Health and Human Services to participate in the 340B

program. Decades after AstraZeneca agreed to undertake a defined set of

obligations in return for the benefits of participation, Louisiana has imposed

new and unanticipated burdens. The Act thus impairs AstraZeneca’s

preexisting contractual rights, and it does so without adequate justification—

since 340B discounts for contract pharmacy sales are not passed on to patients.

                        STATEMENT OF THE CASE

      A.    The Federal 340B Program and Contract Pharmacy Abuse

      1.    Congress enacted Section 340B of the federal Public Health Ser-

vice Act, 42 U.S.C. § 256b, known as the 340B Program, “to enable [covered

entities] to obtain lower prices on the drugs that they provide to their

                                        4
       Case: 24-30651    Document: 36       Page: 14   Date Filed: 01/09/2025




patients.” H.R. Rep. No. 102-384, pt. 2, at 7 (1992). A related federal program,

Medicaid, had long required manufacturers to provide rebates on a drug’s

“best price” (i.e., the lowest price offered to an eligible purchaser). But in do-

ing so, it had created an unintended “disincentive” for manufacturers to offer

discounts to needy purchasers. Id. at 9-10. Section 340B remedied that disin-

centive, by “exclud[ing]” discounts to such purchasers from the best-price for-

mula. Id. at 11.

      In addition, Congress took steps to provide discounts directly to needy

healthcare providers. Section 340B “imposes ceilings on prices drug manufac-

turers may charge for medications sold to specified health-care facilities,”

known as covered entities, that provide healthcare to certain underserved pop-

ulations. Astra USA, Inc. v. Santa Clara Cnty., 563 U.S. 110, 113 (2011). As a

condition of receiving reimbursement for its drugs under Medicaid and Medi-

care Part B, a manufacturer must enter into a pharmaceutical pricing agree-

ment (PPA) with the Secretary of the U.S. Department of Health and Human

Services (HHS). 42 U.S.C. § 256b(a)(1). Under its PPA, the manufacturer

must “offer each covered entity covered outpatient drugs for purchase” at

prices that are substantially discounted under a statutory formula. Id.




                                        5
       Case: 24-30651     Document: 36       Page: 15   Date Filed: 01/09/2025




      Congress intended for the 340B program to benefit underserved com-

munities by allowing covered entities to pass on the below-market prices re-

quired by Section 340B, called “340B prices,” to the “low-income and rural

persons” for whom they often care. Sanofi-Aventis U.S. LLC v. HHS, 58 F.4th

696, 699 (3d Cir. 2023). That is how the program worked originally. But over

time, covered entities realized that if they didn’t pass on the full 340B discount,

they could use the Program to generate arbitrage “revenue.” Id. As the Third

Circuit has explained, “they turn a profit when insurance companies reim-

burse them at full price for drugs that they bought at the 340B discount.” Id.

The pursuit of these arbitrage profits—and new schemes for generating them

in ever-larger amounts—have transformed the 340B program into something

that would be unrecognizable to the Congress that enacted it.

      2.    Congress limited the reach of the 340B program by delineating

fifteen specific categories of covered entities to whom manufacturers must of-

fer 340B prices. 42 U.S.C. § 256b(a)(4)(A)-(O). Section 340B does not require

manufacturers to make 340B discounts available to any entity not specifically

enumerated. In the years since Congress enacted Section 340B, however, the

Health Resources and Services Administration (HRSA), the sub-agency that

administers the 340B program, has issued two non-binding “guidance”



                                         6
       Case: 24-30651   Document: 36       Page: 16   Date Filed: 01/09/2025




documents purporting to authorize covered entities to enter into agreements

with pharmacies to dispense outpatient drugs under Section 340B. These so-

called “contract pharmacy” arrangements have fundamentally transformed

the 340B program.

      In 1996, HRSA issued guidance under which “eligible covered entities

that do not have access to appropriate ‘in-house’ pharmacy services” could en-

ter into an agreement with a single outside pharmacy of its choice (“only one

site”) to provide such services for 340B drugs. 61 Fed. Reg. 43,549, 43,555

(Aug. 23, 1996) (1996 Guidance). Then, in 2010, HRSA released new guidance

permitting covered entities to “use multiple pharmacy arrangements”—that

is, an unlimited number of contract pharmacies, without any geographic lim-

its—“as long as they comply with guidance developed to help ensure against

diversion and duplicate discounts and the policies set forth regarding patient

definition.” 75 Fed. Reg. 10,272, 10,273 (2010 Guidance). The 2010 Guidance

thus purported to authorize a covered entity to enter into an unlimited number

of contract pharmacy arrangements anywhere in the United States.

      The 2010 Guidance led to an explosion in contract pharmacies accessing

discounts for 340B drugs, enabling them to reap outsized profit margins by

reselling these discounted drugs at full price to insured patients. The number



                                       7
         Case: 24-30651    Document: 36       Page: 17   Date Filed: 01/09/2025




of contract pharmacies correspondingly ballooned, from approximately 1,300

in 2010 to more than 33,000 today. Adam J. Fein, Drug Channels Inst., Exclu-

sive: For 2023, Five For-Profit Retailers and PBMs Dominate an Evolving

340B Contract Pharmacy Market (Jul. 11, 2023).1 These contract pharmacies

now hold more than 194,000 individual contracts with covered entities. Id.

        Although contract pharmacy sales occur in the name of the covered en-

tity, that is largely a matter of semantics. For instance, covered entities do not

maintain title to 340B drugs, which are held by contract pharmacies just like

any other drugs; and such pharmacies are typically independent contractors,

not agents of covered entities, with respect to the acquisition and sale of 340B

drugs. See, e.g., Opp’n to Mot. Summ. J. Ex. A, § 3.3.5, Sanofi-Aventis U.S.

LLC v. HHS, No. 24-cv-1603 (D.D.C. Nov. 29, 2024), ECF No. 24-2 (contract

showing title passes from covered entity to contract pharmacy); id. § 8.10 (stat-

ing contract pharmacies are not agents of the covered entity).2 Instead, the

contract pharmacy mechanism is just a way to generate additional 340B dis-

counts for transactions that would otherwise occur in precisely the same way.



1
    https://www.drugchannels.net/2023/07/exclusive-for-2023-five-for-profit.html.
2
 This Court has held that courts may take judicial notice of “matters of public
record,” such as public court filings. See, e.g., Norris v. Hearst Trust, 500 F.3d
454, 461 n.9 (5th Cir. 2007).

                                          8
       Case: 24-30651   Document: 36       Page: 18   Date Filed: 01/09/2025




      This fact is made unmistakably clear by the so-called replenishment

model that is now used for nearly all contract pharmacy sales. Under this

model, eligibility for the 340B discount is not determined until after the drug

has already been dispensed to the patient and paid for at the commercial price

established by the patient’s insurance. ROA.170–71. As the D.C. Circuit has

explained:

      While some contract pharmacies maintain separate inventories of sec-
      tion 340B drugs, most fill prescriptions from inventories that intermin-
      gle discounted and non-discounted drugs. Only after dispensing the
      drugs do these pharmacies attempt to discern whether individual cus-
      tomers were patients of covered entities—in other words, whether indi-
      vidual prescriptions were eligible for the discount. Many pharmacies
      outsource this determination to third-party administrators, who often
      receive a larger fee for every prescription deemed eligible for the dis-
      count. Once the pharmacy or the administrator categorizes a certain
      number of prescriptions as eligible, the pharmacy places an order to re-
      plenish its section 340B purchases. The covered entity, the pharmacy,
      and the third-party administrator often divvy up the spread between the
      discounted price and the higher insurance reimbursement rate. Each of
      these actors thus has a financial incentive to catalog as many prescrip-
      tions as possible as eligible for the discount.

Novartis Pharms. Corp. v. Johnson, 102 F.4th 452, 457 (D.C. Cir. 2024); see

Decl. of Krista M. Pedley ¶¶ 5-9, Sanofi-Aventis U.S., LLC v. HHS, No. 3:21-

cv-634 (D.N.J. June 24, 2021), ECF No. 93-2.

      In other words, a contract pharmacy sale usually just involves a normal

drug sale that is initially conducted at full commercial prices (paid by a



                                       9
       Case: 24-30651    Document: 36    Page: 19   Date Filed: 01/09/2025




pharmacy customer or his insurer), followed by an after-the-fact determina-

tion of program eligibility and a request by the pharmacy to “replenish” the

dispensed drugs at 340B-discounted prices. This means that a 340B discount

is applied for the contract pharmacy sale even though the pharmacy has also

benefitted from the full insurance reimbursement. The result is significant ar-

bitrage revenue, which the contract pharmacy splits with its covered entity

and third-party administrator partners. ROA.170–71. A contract pharmacy

sale is thus merely a post hoc accounting exercise designed to invoke the stat-

utory discount for a sale that has already occurred.

      3.    In August 2020, AstraZeneca announced to covered entities that,

effective October 1, it would revert to the contract pharmacy approach set

forth in HRSA’s 1996 Guidance. ROA.172. Under this policy, AstraZeneca con-

tinues to make its products available at 340B-discounted prices to all covered

entities. For covered entities that do not maintain their own on-site dispensing

pharmacy, AstraZeneca provides discounts for sales at a single contract phar-

macy site for each covered entity. But AstraZeneca no longer allows covered




                                        10
       Case: 24-30651    Document: 36    Page: 20   Date Filed: 01/09/2025




entities to obtain 340B discounts for sales at an unlimited number of contract

pharmacies. ROA.172.

      AstraZeneca’s policy was and remains fully consistent with the letter

and intent of the 340B program—limiting the potential for abuse, while still

enabling all covered entities and their patients to continue to access Astra-

Zeneca’s medicines at 340B prices. Under AstraZeneca’s policy, several thou-

sand covered entities that lack an on-site pharmacy have registered a contract

pharmacy to which AstraZeneca continues to make 340B discounts available,

including approximately 46 covered entities in Louisiana. ROA.172. Astra-

Zeneca is committed to working with all covered entities to ensure that every

patient can obtain needed medicines at prices they can afford.

      In response to AstraZeneca’s new contract pharmacy policy and similar

policies adopted by other manufacturers, HHS issued an Advisory Opinion on

December 30, 2020, claiming that the 340B statute requires manufacturers to

deliver 340B-discounted drugs to unlimited contract pharmacies. AstraZeneca

challenged the Advisory Opinion in the U.S. District Court for the District of

Delaware. The court found the Advisory Opinion unlawful, concluding that

Section 340B “says nothing about the permissible role (if any) of contract phar-

macies,” and that, in light of this “total omission,” the Advisory Opinion’s



                                        11
       Case: 24-30651   Document: 36    Page: 21   Date Filed: 01/09/2025




attempt to impose an obligation on AstraZeneca to make discounts available

for unlimited contract pharmacy sales was “legally flawed.” AstraZeneca

Pharms. LP v. Becerra, 543 F. Supp. 3d 47, 59 (D. Del. 2021). HHS withdrew

the Advisory Opinion following the Delaware court’s ruling.

      In a second ruling, the Delaware court addressed AstraZeneca’s chal-

lenge to a “violation letter” issued by HRSA, which had adopted the same po-

sition as the Advisory Opinion. The court again rejected the agency’s view that

Section 340B obligates drug manufacturers to make 340B discounts available

for unlimited contract pharmacy sales. AstraZeneca Pharms. LP v. Becerra,

No. 1:21-cv-27, 2022 WL 484587, at *5–6 (D. Del. Feb. 16, 2022).

      The U.S. Court of Appeals for the Third Circuit affirmed those rulings,

holding that the Advisory Opinion and violation letter were “unlawful” and

“enjoin[ing] HHS from enforcing against” AstraZeneca the agency’s “reading

of Section 340B as requiring delivery of discounted drugs to an unlimited num-

ber of contract pharmacies.” Sanofi, 58 F.4th at 706. The court also held that

AstraZeneca’s “restrictions on delivery to contract pharmacies do not violate

Section 340B.” Id.

      The government neither sought en banc review of the Third Circuit’s

decision nor filed a petition for certiorari in the U.S. Supreme Court. On May



                                       12
       Case: 24-30651   Document: 36    Page: 22   Date Filed: 01/09/2025




5, 2023, the Delaware district court issued a final judgment, to which the gov-

ernment stipulated, declaring that the Advisory Opinion and Violation Letter

were unlawful and that AstraZeneca’s policy limiting the use of contract phar-

macies “does not violate Section 340B.” Final Judgment at 1, AstraZeneca

Pharms. LP v. Becerra, No. 1:21-cv-27 (D. Del. May 5, 2023), ECF No. 123.

The court enjoined the government from enforcing against AstraZeneca the

agency’s reading of Section 340B as requiring delivery of discounted drugs to

an unlimited number of contract pharmacies. Id.

      The D.C. Circuit subsequently joined in “reject[ing] [the] position that

section 340B prohibits drug manufacturers from imposing any conditions on

the distribution of discounted drugs to covered entities.” Novartis Pharms.,

102 F.4th at 459.

      B.    Louisiana Enacts Legislation Mandating 340B Discounts for
            Unlimited Contract Pharmacy Sales

      On June 12, 2023, one month after the final judgment was issued in

AstraZeneca’s action, Governor John Bel Edwards signed the “Defending Af-

fordable Prescription Drug Costs Act.” 2023 La. Sess. Law Serv. Act 358 (add-

ing Sections 2881-2886 to Title 40 of the Louisiana Revised Statutes). Con-

sistent with its name, the operation and intent of Act 358 is to regulate drug




                                       13
       Case: 24-30651    Document: 36    Page: 23   Date Filed: 01/09/2025




prices, by compelling pharmaceutical manufacturers to make 340B discounts

available for sales at an unlimited number of contract pharmacies.

      Act 358 expressly identifies the federal 340B Program as its regulatory

object. Among other things, the Act defines key terms such as “340B drug”

and “340B entity” by reference to Section 340B. See La. R.S. 40:2882(1), (2).

Most significantly, a 340B drug is defined as “a drug that has been subject to

any offer for reduced prices by a manufacturer pursuant to 42 U.S.C. 256b.”

La. R.S. 40:2882(1).

      Act 358 then imposes two sets of substantive prohibitions. First, it gen-

erally bars health insurance issuers, pharmacy benefit managers, and other

third-party payors from reducing reimbursements and imposing certain con-

ditions on 340B entities based on their 340B status. La. R.S. 40:2883. Second,

and as most relevant here, the Act imposes obligations on manufacturers who

participate in the 340B program:

      A.    A manufacturer or distributor shall not deny, restrict, prohibit, or
            otherwise interfere with, either directly or indirectly, the acquisi-
            tion of a 340B drug by, or delivery of a 340B drug to, a pharmacy
            that is under contract with a 340B entity and is authorized under
            such contract to receive and dispense 340B drugs on behalf of the
            covered entity unless such receipt is prohibited by [HHS].

      B.    A manufacturer or distributor shall not interfere with a pharmacy
            contracted with a 340B entity.



                                        14
       Case: 24-30651      Document: 36    Page: 24   Date Filed: 01/09/2025




La. R.S. 40:2884(A)–(B).

      Any violation of Act 358 is deemed a violation of the Louisiana Unfair

Trade Practices and Consumer Protection Law, La. R.S. 51:1401 et seq. See

La. R.S. 40:2885. Commission of a prohibited act “subjects the violator to any

and all actions, including investigative demands, remedies, and penalties” un-

der that law. Id. The Attorney General, and district attorneys under his super-

vision, may seek “a civil penalty” for violations of the statute, La. R.S.

51:1407(B), 51:1417, and may bring actions to enjoin unlawful activities, La.

R.S. 51:1407(A). In addition, courts can issue orders against any party to com-

pensate any aggrieved person for property unlawfully acquired. La. R.S.

51:1408(A). Such orders may include restitution, revocation of licenses or other

authority to conduct business, appointment of a receiver—even suspension or

termination of the corporation’s right to do business in Louisiana. Id.

      C.    Procedural History

      On August 4, 2023, AstraZeneca filed this suit alleging that Act 358 is

unconstitutional on multiple grounds. As relevant here, AstraZeneca argued

that the Act is preempted by Section 340B and violates the Contracts Clause

because it impairs AstraZeneca’s PPA with HHS. On November 7, an

association representing covered entities based in Louisiana, the Louisiana



                                          15
      Case: 24-30651    Document: 36    Page: 25   Date Filed: 01/09/2025




Primary Care Association, intervened to defend the Act. The parties briefed

cross-motions for summary judgment.

     On September 30, 2024, the district court issued a memorandum

granting judgment for defendants and against AstraZeneca, as well as for

defendants   in   two   related   cases,    Pharmaceutical     Research     and

Manufacturers of America v. Murrill, No. 23-cv-997, and AbbVie, Inc. v.

Murrill, No. 23-cv-1307. On AstraZeneca’s preemption claim, the court held

that “Act 358’s provisions addressing contract pharmacies do not create an

unacceptable obstacle to the accomplishment and execution of Congress’

objectives reflected in Section 340B because Section 340B does [not] address

contract pharmacies.” ROA.988 (cleaned up). The Court also held that the Act

“arguably advances Congress’ objectives with respect to the Section 340B

program” because it allows covered entities to “increase their revenues from

insured patients who use [contract] pharmacies,” and because “[m]ultiple

contract pharmacies also arguably provide wider coverage for patients of

covered entities.” ROA.988 (emphasis omitted).

     The district court further held that Act 358 does not violate the

Contracts Clause. ROA.993-96. The court determined that the Act does not

interfere with AstraZeneca’s PPA because it does not “change what prices



                                       16
       Case: 24-30651    Document: 36    Page: 26   Date Filed: 01/09/2025




drug companies may charge covered entities,” since it “only affects the

delivery or acquisition of Section 340B drugs.” ROA.994. In the court’s view,

AstraZeneca could not “point to any way in which the Act expands or

contradicts its PPA because, like the statute, the PPA is silent as to delivery

to or acquisition of Section 340B drugs to contract pharmacies.” ROA.994. The

court also stated that, even if Act 358 impaired the PPA, Louisiana would

“have a legitimate purpose for doing so.” ROA.995.

                        SUMMARY OF ARGUMENT

      I.    Act 358 is preempted by Section 340B of the federal Public Health

Service Act, 42 U.S.C. § 256b.

      First, no presumption against preemption applies here because Act 358

directly targets federal law: It regulates the relationship between 340B

covered entities and manufacturers who choose to participate in the 340B

program. Indeed, the Act has no operation or effect other than to regulate

transactions within this uniquely federal relationship.

      Second, Act 358 regulates drug pricing—an area generally outside of

state control—by forcing manufacturers to make their drugs available at

heavily discounted 340B prices for unlimited contract pharmacy sales. Pricing

is the only thing that distinguishes a sale that complies with the Act from a



                                        17
       Case: 24-30651    Document: 36    Page: 27    Date Filed: 01/09/2025




sale that violates the law. Below, the district court attempted to characterize

Act 358 as a regulation of drug acquisition and distribution. But the law says

nothing about any genuine aspect of how a drug is distributed, such as its

labeling, shipping, or storage. And regardless, requiring delivery of 340B-

discounted drugs is equivalent to requiring 340B pricing for drugs. Indeed,

under the replenishment model used by covered entities, the relevant drugs

have already been distributed at the time of the regulated transaction; the

only question is whether the replenishment sale will take place at the 340B

price (no violation of Act 358), or instead at commercial prices (violation).

      Third, by extending 340B-discounted pricing to unlimited contract

pharmacy sales, Act 358 drastically increases a manufacturer’s costs of

participating in the federal 340B program. Defendants focus on how those

sums, which they euphemistically describe as 340B “revenue” or “savings,”

end up benefitting covered entities. But however described, these costs come

directly out of the pockets of drug manufacturers, making their participation

in the 340B program correspondingly more burdensome. Act 348 thus

“exert[s] an extraneous pull on the scheme established by Congress,” thereby

“skew[ing]” the program’s “delicate balance of statutory objectives.”

Buckman Co. v. Plfs.’ Legal Comm., 531 U.S. 341, 348, 353 (2001).



                                        18
       Case: 24-30651    Document: 36    Page: 28   Date Filed: 01/09/2025




      II.   AstraZeneca has properly stated a claim under the Contracts

Clause. Act 358 substantially impairs AstraZeneca’s pharmaceutical pricing

agreement (PPA) with the federal government, by imposing costly new state-

law obligations as a consequence of AstraZeneca’s participation in the federal

340B program. The Act requires AstraZeneca to make 340B discounts

available for unlimited contract pharmacy sales, even though that obligation is

not reflected in the PPA that it signed. Decades after agreeing to participate

in the federal 340B program, AstraZeneca could not have anticipated—and did

not anticipate—that a State would later impose an additional obligation to

make 340B discounts available for a broad new category of transactions.

      The district court held that AstraZeneca’s PPA was not impaired

because the Act does not change which entities qualify for 340B discounts; but

it undeniably expands the category of sales that qualify. And the court’s

reasoning that Act 358 does not affect AstraZeneca’s contractual rights

because it regulates delivery rather than pricing is both wrong (for the reasons

explained above) and also irrelevant: Even if the Act is described as requiring

“delivery” of 340B drugs to unlimited contract pharmacies, it still imposes

under Louisiana law a costly new obligation that did not previously exist

under the PPA.



                                        19
       Case: 24-30651     Document: 36    Page: 29     Date Filed: 01/09/2025




      Act 358 is not reasonably necessary to advance the State’s asserted

interest in protecting its citizens’ access to prescription drugs. In fact, the law

does not promote patient access: Independent studies from governmental

sources, which AstraZeneca cited in its complaint, show that 340B discounts

are usually not passed on to contract pharmacy customers, who continue to

pay full price. Defendants offered no evidence to the contrary.

      The district court nevertheless held that Act 358 was reasonably

tailored, on the ground that “[t]he state could credibly argue” it promotes

greater patient access. ROA.995. But such speculation is plainly insufficient,

particularly in the face of actual evidence to the contrary from AstraZeneca.

Indeed, these sorts of factual disputes are why Contracts Clause claims are

rarely—if ever—decided without a fully developed evidentiary record. And

while the State requests deference for its “legislative judgment,” ROA.342

(citation omitted), such deference is applied to legislative findings; here, there

were none.

                          STANDARD OF REVIEW

      This court reviews de novo a district court’s grant of summary

judgment, including on questions of preemption. Barosse v. Huntington

Ingalls, Inc., 70 F.4th 315, 319–20 (5th Cir. 2023).



                                         20
       Case: 24-30651    Document: 36    Page: 30   Date Filed: 01/09/2025




                                 ARGUMENT

I.    Act 358 Is Preempted by Federal Law

      The Supremacy Clause of the U.S. Constitution provides that the “Con-

stitution, and the Laws of the United States which shall be made in Pursuance

thereof,” are “the supreme Law of the Land . . . any Thing in the Constitution

or Laws of any state to the Contrary notwithstanding.” U.S. Const. art. VI, cl.

2. “The doctrine of federal preemption that arises out of the Supremacy Clause

requires that ‘any state law, however clearly within a State’s acknowledged

power, which interferes with or is contrary to federal law, must yield.’ ” Al-

dridge v. Miss. Dep’t of Corr., 990 F.3d 868, 874 (5th Cir. 2021) (quoting Felder

v. Casey, 487 U.S. 131, 138 (1988)). Act 358 directly interferes with—and is

thus preempted by—the federal 340B program.

      A.    No Presumption against Preemption Applies

      The district court adopted a presumption against preemption on the

ground that Act 358 operates in “an area traditionally left to state regulation.”

ROA.981 (quoting PhRMA v. McClain, 95 F.4th 1136, 1143 (8th Cir. 2024)).

But for two independent reasons, no such presumption applies here.

      First, Act 358 exclusively regulates transactions involving 340B drugs

that take place between manufacturers participating in the federal 340B pro-

gram, 340B covered entities, and the pharmacies with which they contract.

                                        21
       Case: 24-30651    Document: 36    Page: 31   Date Filed: 01/09/2025




The Act thus directly targets, and indeed is entirely parasitic on, federal law;

if Section 340B were to be repealed, Act 358 would cease to have any effect.

The State has identified no authority for applying the presumption against

preemption to a state law that solely regulates entities participating in a fed-

eral program—and targets them because of their federal participation.

      Indeed, all authority is to the contrary. As the Supreme Court has ex-

plained, no presumption against preemption applies when a State attempts to

regulate something “inherently federal in character because the relationship

originates from, is governed by, and terminates according to federal law.”

Buckman Co. v. Plfs.’ Legal Comm., 531 U.S. 341, 347 (2001). Where “federal

law dictates which information [a] manufacturer is obliged to disclose,” for in-

stance, “[s]tate laws that depend on such disclosures are not entitled to a pre-

sumption against preemption.” Lofton v. McNeil Consumer & Specialty

Pharms., 672 F.3d 372, 378-79 (5th Cir. 2012). The same dynamic applies here:

AstraZeneca’s obligations towards 340B covered entities originate from Sec-

tion 340B; are governed by Section 340B; and will terminate when Astra-

Zeneca no longer participates in the 340B program. “As a result,” 340B sales

“are ‘uniquely federal’ and thus beyond the states’ traditional police power.”

Id. at 379 (quoting Buckman, 531 U.S. at 347).



                                        22
       Case: 24-30651    Document: 36    Page: 32    Date Filed: 01/09/2025




      Nor can a presumption against preemption be justified on the ground

that “the practice of pharmacy is an area traditionally left to state regulation.”

McClain, 95 F.4th at 1143 (quoting Pharm. Care Mgmt. Ass’n v. Wehbi, 18

F.4th 956, 972 (8th Cir. 2021)). To be sure, state law has historically provided

a “complementary form of drug regulation,” including a “layer of consumer

protection that complements [federal] regulation.” Wyeth v. Levine, 555 U.S.

555, 578-79 (2009). But those generally applicable state laws regulate the sale

and distribution of all drugs, not just drugs sold within a federal program.

Act 358, by contrast, is anything but generally applicable: It applies if—but

only if—a manufacturer signs a PPA with the Secretary of HHS agreeing to

abide by the 340B program’s requirements, and the Act attempts to dictate

the treatment of 340B drugs solely within that federal program.

      Second, a presumption against preemption is also inapplicable here be-

cause there is no “historic presence of state law” in regulating drug pricing—

much less in regulating the price of 340B drugs in particular. Id. at 565 n.3. As

explained below in Section I.B, Act 358 regulates the price at which drugs must

be offered in 340B contract pharmacy sales. It is thus qualitatively different

from traditional state regulations designed to promote consumer health and

safety. Indeed, to the extent Act 358 could affect health or safety at all,



                                        23
       Case: 24-30651    Document: 36    Page: 33    Date Filed: 01/09/2025




Louisiana itself has acknowledged that it would do so only incidentally, as an

“attendant effect” of keeping drug prices low. ROA.327.

      As courts have held, however, drug pricing is not an area of traditional

state regulation. In Biotechnology Industry Organization v. District of Co-

lumbia, 496 F.3d 1362 (Fed. Cir. 2007) (BIO), the District of Columbia enacted

a statute prohibiting the sale of certain drugs at “an excessive price.” Id. at

1371 (quoting D.C. Code § 28-4553). When an organization of drug manufac-

turers challenged the law on preemption grounds, the District argued that the

reviewing court should apply a “presumption that Congress has not intended

to supplant [a] state law” that “addresses an area of traditional state regula-

tion,” particularly since “the state law at issue seeks to preserve the health and

welfare of its citizens.” Br. for Defs., BIO, 2006 WL 3382103 (Oct. 30, 2006).

      The Federal Circuit disagreed. The court explained that the District’s

law was “targeted at the [federal] patent right”—that is, at federal laws set-

ting “the proper balance between innovators’ profit and consumer access to

medication”—and thus the law fell within an area of traditional federal regu-

lation, not state regulation. BIO, 496 F.3d at 1374. The same is true here:

Act 358 is “targeted at” the ability of drug manufacturers to charge market




                                        24
       Case: 24-30651     Document: 36    Page: 34   Date Filed: 01/09/2025




prices for 340B drug sales to contract pharmacies. Under those circumstances,

no presumption against preemption applies.

      B.    Act 358 Regulates Pricing

      As its name indicates, the “Defending Affordable Prescription Drug

Costs Act” governs the prices at which manufacturers must make their drugs

available for contract pharmacy sales. On its face, the Act 358 defines the

drugs that it regulates solely in terms of their price: A “340B drug” is a drug

that has been subject to “any offer for reduced prices by a manufacturer pur-

suant to” Section 340B. La. R.S. 40:2882(1). Act 358 then requires manufactur-

ers to make “340B drug[s]”—i.e., drugs at “reduced prices”—available to con-

tract pharmacies. La. R.S. 40:2884(A). A manufacturer’s attempt to use a dif-

ferent (market-based) price for contract pharmacy sales constitutes a statu-

tory “violation” that is subject to a range of harsh “penalties.” La. R.S. 40:2885.

Act 358 thus regulates pricing on its face—and, insofar as manufacturers are

affected, it only regulates pricing.3




3
 Act 358 also regulates pricing by health insurance issuers, pharmacy benefit
managers, and other third-party payors: It forbids them from reducing “reim-
bursement to a 340B entity” based on the 340B status of the drugs sold. La.
R.S. 40:2883(A)(1)(a).

                                         25
       Case: 24-30651    Document: 36    Page: 35   Date Filed: 01/09/2025




      The district court below asserted, without any meaningful analysis, that

“Act 358 only affects the delivery or acquisition of Section 340B drugs.”

ROA.994. But nothing in Act 358 regulates any aspect of drug distribution

aside from delivery at a particular price. To be sure, as Intervenor noted be-

low, Louisiana does have several other laws that speak in generally applicable

terms about who is authorized to deliver, sell, and possess prescription drugs

and that regulate various aspects of drug distribution, inventory, and storage.

ROA.377. But the contrast with these other laws—which actually regulate

drug distribution and delivery—only shows how different Act 358 is.

      For instance, the Louisiana Drug and Device Distributors Act, La. R.S.

37:3461 et seq., requires all wholesale drug distributors to be licensed accord-

ing to statutory criteria and establishes a board to regulate the wholesale dis-

tribution of all prescription drugs in the state. Likewise, Section 1060.13 of

Title 40 prohibits the sale, delivery, or possession of restricted drugs “except

upon the order or prescription of a physician or licensed health care practi-

tioner.” La. R.S. 40:1060.13(A). These laws regulate genuine aspects of drug

distribution: who is authorized to deliver, sell, and possess them. They are vi-

olated when drugs are distributed in a particular manner, such as without

“possession of a valid [controlled dangerous substance] license.” La. Admin.



                                        26
       Case: 24-30651    Document: 36    Page: 36    Date Filed: 01/09/2025




Code tit. 46, pt. LIII § 2705(F)(4). What leads to a violation of Act 358, by con-

trast, is conducting a transaction at the wrong price. Indeed, pricing is the

only thing that distinguishes a sale that complies with Act 358 from a sale that

violates the law.

      Even if Act 358 could be viewed as addressing acquisition and delivery,

moreover, that still would not change its character as a price regulation. There

is no meaningful difference between a statute requiring the sale of goods to

identified buyers at a specified price (“You must sell me a car for $1”), and a

statute mandating delivery of the same goods at that same price to the same

buyers (“You may not deny me delivery of a $1-priced car.”). Act 358’s sole

effect is to require manufactures to make 340B discounts available for unlim-

ited contract pharmacy sales.

      The replenishment model used by contract pharmacies makes this espe-

cially clear. Under that model, contract pharmacies “fill prescriptions from in-

ventories that intermingle discounted and non-discounted drugs.” Novartis

Pharms., 102 F.4th at 457. The pharmacy will dispense these drugs to any pa-

tient, whether 340B-eligible or not. “Only after dispensing the drugs do these

pharmacies attempt to discern whether individual customers were patients of

covered entities—in other words, whether individual prescriptions were



                                        27
       Case: 24-30651    Document: 36    Page: 37   Date Filed: 01/09/2025




eligible for the discount.” Id. After an eligibility determination has been made

(often by a third-party administrator), “the pharmacy places an order” from

the manufacturer at “the discounted [340B] price,” which it uses to “replenish”

its inventory (where 340B and non-340B drugs are again intermingled). Id.

      Thus, under the replenishment model, the actual distribution (i.e., move-

ment) of 340B drugs is no different from that of non-340B drugs; and the ac-

quisition of those drugs differs only in terms of their prices. Indeed, as an In-

tervenor acknowledged below, the replenishment model turns 340B contract

pharmacy sales into a mere “accounting mechanism,” in which discounts are

applied in an after-the-fact financial “reconciliation.” ROA.1099.

      In ruling that Act 358 regulates drug distribution, the district court re-

lied on the Eighth Circuit’s decision in PhRMA v. McClain. ROA.973, 978, 981,

986. But that court simply assumed without discussion that the challenged

state laws regulate delivery, not price. See McClain, 95 F.4th at 1139, 1142–

43.4 The Eighth Circuit (and the district courts that have followed it) thus


4
  Central to the Eighth Circuit’s ruling, moreover, were two factual assump-
tions regarding the relationship between covered entities and contract phar-
macies: first, that “[c]overed entities maintain legal title to the 340B drugs”
when they are acquired by contract pharmacies, 95 F.4th at 1142; see id. at
1144; and second, that a contract pharmacy acts as “an agent of the covered
entity” with respect to the sale of 340B drugs, id. at 1142. Those factual as-
sumptions were foundational to the court’s conclusion that, under the


                                        28
       Case: 24-30651   Document: 36    Page: 38   Date Filed: 01/09/2025




failed to consider whether the law has any genuine effect on drug distribution

or draws any distinction between 340B drugs and other drugs besides the price

at which the drugs are sold.

      The only court to have meaningfully considered that question correctly

determined that an analogous West Virginia law “regulates price, not deliv-

ery.” PhRMA v. Morrisey, No. 2:24-cv-271, 2024 WL 5147643, at *8 (S.D.W.

Va. Dec. 17, 2024). Under the “replenishment model,” that court explained:

      Because the drug is already in the hands of the contract pharmacy even
      before the patient arrives at the pharmacy, the question is not about de-
      livery of the drug. The question is only about what price the pharmacy
      and the covered entity will pay the manufacturer for the replenished
      drug upon distribution of the 340B Program eligible one.

Id. Or “[p]ut another way, the system is about delivery at a given price, not

delivery per se.” Id.

      The same is true of Act 358. Since the contract pharmacy already has

possession of and title to the drug before the patient arrives at the pharmacy,

the only question is the price at which the replenishment sale will occur. And

the only fact relevant to determining whether the replenishment sale complied




Arkansas law, “[p]harmacies do not purchase 340B drugs, and they do not re-
ceive the 340B price discounts.” Id. at 1144. But AstraZeneca has challenged
those (false) premises here, ROA.26–29, ROA.1083–84, and its factual allega-
tions must be taken as true for purposes of summary judgment.

                                       29
       Case: 24-30651       Document: 36    Page: 39   Date Filed: 01/09/2025




with the Act is if it took place at market prices (violation) or 340B prices (no

violation). Simply put, a law that forbids a drug manufacturer from charging

the wrong price is a law that regulates drug pricing.

      C.    Act 358 Is Preempted by Section 340B

      A state law is preempted by federal law if the state law “stands as an

obstacle to the accomplishment and execution of the full purposes and objec-

tives of Congress.” Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 373

(2000) (citation omitted). Such interference occurs where a state law “dramat-

ically increase[s] the burdens facing” participants in a federal scheme in ways

“not contemplated by Congress.” Buckman, 531 U.S. at 350. That is the case

here: In enacting Section 340B, Congress carefully balanced the benefits and

burdens of participation in the 340B Program, so that manufacturers would

know exactly which obligations they were taking on when they agreed to par-

ticipate. Act 358 recalibrates the “burden” side of the scale, upending Con-

gress’s careful calculus.

      By extending 340B-discounted pricing to unlimited contract pharmacy

sales, Act 358 drastically increases manufacturers’ costs of participating in the

340B program. As the Third and D.C. Circuits have held—and Defendants do

not contest—Section 340B itself does not obligate manufacturers to make



                                           30
        Case: 24-30651   Document: 36    Page: 40   Date Filed: 01/09/2025




discounts available for unlimited contract pharmacy sales. See Sanofi, 58 F.4th

at 703–04; Novartis Pharms., 102 F.4th at 464. Instead, prior to Act 358’s en-

actment, AstraZeneca and other manufacturers were authorized to adopt pol-

icies limiting access to 340B discounts to sales made directly to a covered en-

tity or through a single contract pharmacy; covered entities were entitled to

use 340B discounts to “turn a profit” only on those sales. Sanofi, 58 F.4th at

699.

       Now, however, Act 358 requires manufacturers to also make 340B dis-

counts available for an additional category of transactions: unlimited contract

pharmacy sales. Doing so enables covered entities and their associated con-

tract pharmacies to “squeeze [more] revenue out of” the program. Id. at 704.

But it imposes a corresponding burden on manufacturers. The additional “rev-

enue” captured by covered entities (and contract pharmacies) comes directly

out of the pockets of manufacturers, see ROA.305, 323, 424, 466, dramatically

changing manufacturers’ costs of participating in the federal program.

       In effect, Louisiana has used manufacturers’ participation in the federal

340B program as leverage to extract additional money from them under state

law. The result is to “exert an extraneous pull on the scheme established by

Congress,” thus “skew[ing]” the “delicate balance of statutory objectives.”



                                        31
       Case: 24-30651   Document: 36    Page: 41   Date Filed: 01/09/2025




Buckman, 531 U.S. at 348, 353. Accordingly, even if the State and Intervenor

were correct that Act 358 somehow regulates only delivery—though they are

not, see supra Section I.B—that still would not save it from preemption: Im-

posing a costly new delivery obligation on transactions under a federal pro-

gram just as readily “discourage[s]” participation in the program. Buckman,

531 U.S. at 351.

      For their part, the State and Intervenor do not dispute that Act 358

gives covered entities a valuable financial “benefit”—which they sometimes

euphemistically refer to as “savings,” “revenue,” or “program income.” See

ROA.305, 323, 424, 466. Nor could they dispute it: The very reason for enacting

the Act was Louisiana’s view that “[t]he restrictions imposed by AstraZeneca

and the other manufacturers ha[d] deprived covered entities of the revenue

and healthcare savings that Congress intended by enacting the 340B pro-

gram,” and the State viewed the legislation as necessary to reinstate those

“revenue[s] and healthcare savings.” ROA.305; accord ROA.323–24.

      It is similarly undisputed that such money comes directly from manu-

facturers who participate in the 340B program. See ROA.305, 323, 424, 466. A

state law that requires an entity to provide millions of dollars in forced dis-

counts annually if, but only if, the entity chooses to participate in a federal



                                       32
       Case: 24-30651    Document: 36    Page: 42   Date Filed: 01/09/2025




program thereby “skew[s]” the program’s “delicate balance of statutory ob-

jectives,” Buckman, 531 U.S. at 348—regardless of whether those state-law

obligations are (mis)characterized as obligations with respect to “delivery.”

      Act 358’s disruptive effect on federal priorities is especially strong be-

cause, if Louisiana may add to the burdens of participating in a federal benefits

program, then so may any other State. Indeed, a growing list of States—in-

cluding Arkansas, Maryland, Mississippi, West Virginia, Kansas, Minnesota,

and Missouri—have passed laws that similarly seek to extract state-law bene-

fits from the 340B program. A manufacturer deciding whether to participate

in the 340B program (and in Medicare and Medicaid, with which it is inter-

twined) would have to consider, not merely what participation would cost un-

der the federal programs themselves, but also under each associated state law.

If States could impose costly state-law burdens targeted solely at those who

participate in voluntary federal benefits programs, it would leave Congress

with “less to offer and less economic . . . leverage as a consequence.” Crosby,

530 U.S. at 377. Such a “state Act” that expressly targets federal program par-

ticipants, and saddles them with new obligations, is preempted because it “re-

duces the value of the [bargaining] chips created by the federal statute.” Id.




                                        33
          Case: 24-30651   Document: 36    Page: 43   Date Filed: 01/09/2025




      The district court’s contrary reasoning is unpersuasive. The court as-

serted that, “because Section 340B does [not] address contract pharmacies,”

Act 358 “do[es] not create ‘an unacceptable obstacle to the accomplishment

and execution’ of Congress’[s] objectives.” ROA.988 (quoting Janvey v. Dem-

ocratic Senatorial Campaign Comm., Inc., 712 F.3d 185, 200 (5th Cir. 2013)).

But that argument turns preemption principles on their head: The fact that

Act 358 mandates costly discounts for a category of transactions (unlimited

contract pharmacy sales) that are not addressed in Section 340B itself is pre-

cisely why the Act imposes additional burdens on participation in the federal

program. Those state-imposed burdens go substantially beyond what Con-

gress had in mind when it balanced the costs and benefits of program partici-

pation.

      The district court further stated that Act 358 “arguably advances Con-

gress’[s] objectives with respect to the Section 340B program” in two ways: by

“allowing covered entities . . . [to] increase their revenues from insured pa-

tients who use those pharmacies,” and by “arguably provid[ing] wider cover-

age for patients of covered entities.” ROA.988. But even if Congress intended

for Section 340B to benefit covered entities and improve patient access, and




                                          34
       Case: 24-30651    Document: 36    Page: 44   Date Filed: 01/09/2025




even if Act 358 actually facilitated those goals,5 Congress certainly did not in-

tend to pursue those objectives at all costs. See Hernandez v. Mesa, 589 U.S.

93, 100 (2020) (“No law pursues its purposes at all costs.”) (cleaned up). Con-

gress did not design the 340B program so that covered entities could “maxim-

ize their 340B profits.” Sanofi, 58 F.4th at 704. Instead, Congress calibrated

Section 340B in order to balance the program’s costs against its benefits; Act

358 upsets that careful balance, and thus stands as an obstacle to federal law.

II.   Act 358 Violates the Contracts Clause

      Article I, Section 10 of the Constitution prohibits States from enacting

laws that “impair[] the Obligations of Contracts.” To determine whether a



5
  This contention is based on a factual premise that was expressly disputed
below. The State asserted that Act 358 was enacted to address “[t]he strain on
Louisiana’s Covered Entities and the distance of many Louisiana patients
from covered healthcare providers.” ROA.342. But the State did not supply
any evidence to support that assertion. Likewise, Intervenor argued that
“[r]estrictions on contract pharmacies systematically deprive significant num-
bers of vulnerable patients adequate access to lifesaving healthcare services.”
ROA.389. But its sole evidence was an affidavit from the CEO of a single cov-
ered entity, and AstraZeneca was not permitted to take discovery to probe the
factual basis for Intervenor’s assertions, despite requesting it. See ROA.623–
33. In any event, under its policy, AstraZeneca continues to make its products
available at 340B-discounted prices—in unlimited quantities—to all covered
entities, and nothing in AstraZeneca’s policy prevents covered entities from
passing on those discounts to their patients. See ROA.29, 172. The district
court’s speculation that Act 358 “arguably provides wider coverage” thus can-
not be credited.

                                        35
       Case: 24-30651     Document: 36    Page: 45   Date Filed: 01/09/2025




state law violates the Contracts Clause, courts evaluate three factors: first,

whether the law “has, in fact, operated as a substantial impairment of the con-

tractual relationship,” Allied Structural Steel Co. v. Spannaus, 438 U.S. 234,

244 (1978); second, whether the State’s asserted justification for the law serves

“a significant and legitimate public purpose” United Healthcare Ins. Co. v.

Davis, 602 F.3d 618, 627 (5th Cir. 2010); and third, whether the law was “rea-

sonably necessary” to achieve that purpose, id. (citation omitted).

      AstraZeneca has properly alleged that Act 358 satisfies all elements of

a Contracts Clause claim. As explained above, the 340B Program requires

manufacturers to enter into contracts, called pharmaceutical pricing agree-

ments (PPAs), with the federal government. See 42 U.S.C. § 256b(a)(1).

Act 358 substantially impairs AstraZeneca’s PPA, by imposing costly new ob-

ligations on it only as a result of entering into that contract. And the Act is not

drawn in a reasonably necessary way to advance the State’s asserted interest

in protecting its citizens’ access to prescription drugs, because the law in fact

does not promote patient access.

      The district court granted summary judgment on AstraZeneca’s Con-

tracts Clause claim, but the State and Intervenor failed to demonstrate based

on the pleadings alone—much less through actual evidence—that Act 358 does



                                         36
       Case: 24-30651    Document: 36    Page: 46   Date Filed: 01/09/2025




not substantially impair AstraZeneca’s PPA; that the law serves a significant

and legitimate public purpose; or that it achieves such a purpose in an appro-

priately direct or reasonably necessary manner. Thus, none of the three

prongs of AstraZeneca’s Contracts Clause claim could be resolved in Defend-

ants’ favor on summary judgment prior to factual development. Indeed, Con-

tracts Clause claims do not solely present legal questions and are rarely, if

ever, decided without discovery or a factual record.6

      The district court therefore should have denied summary judgment, to

afford the parties an opportunity to develop the record. But even if Astra-

Zeneca’s Contracts Clause claim were suitable for resolution on summary

judgment prior to any discovery or other factual development, the court

should have granted judgment for AstraZeneca: Act 358 substantially impairs




6
  See, e.g., Powers v. United States, 783 F.3d 570, 578 (5th Cir. 2015) (“The
district court easily concluded that there was no evidence in the record that
Powers had any existing contracts to perform or coordinate details when the
ordinances were enacted.”); United Healthcare Ins. Co. v. Davis, 602 F.3d 618,
631 (5th Cir. 2010) (“[T]he record indisputably demonstrates that the Act is
narrowly focused on benefitting in-state HMOs (indeed, a specific one) and is
not a broad exercise of the State’s police power.”); Jones v. Bd. of Supervisors
of Univ. of La. Sys., 58 F. Supp. 3d 670, 675–76 (W.D. La. 2014) (evaluating
Contracts Clause claim based on extensive sets of exhibits proffered with
cross-motions for summary judgment).

                                        37
       Case: 24-30651    Document: 36    Page: 47   Date Filed: 01/09/2025




AstraZeneca’s PPA, and Defendants failed to carry their burden of showing

that the law serves a significant and legitimate public purpose.

      A.    Act 358 Impairs AstraZeneca’s PPA

      In determining “whether [a] state law has operated as a substantial im-

pairment of a contractual relationship,” courts consider “the extent to which

the law undermines the contractual bargain, interferes with a party’s reason-

able expectations, and prevents the party from safeguarding or reinstating his

rights.” Sveen v. Melin, 584 U.S. 811, 811–12 (2018) (citation omitted). Act 358

does precisely that.

      The 340B Program requires manufacturers like AstraZeneca to enter

into PPAs with the federal government. See 42 U.S.C. § 256b(a)(1); see also

ROA.167. AstraZeneca signed its PPA with the expectation that it would be

required to provide 340B discounts only for a limited category of transactions

directly involving covered entities themselves, and it entered the PPA in reli-

ance on that expectation. As the D.C. Circuit recently underscored (echoing

the Third Circuit), neither the 340B statute nor the PPA (which incorporates

the statute’s requirements) obliges AstraZeneca to make 340B discounts avail-

able for sales “to an unlimited number of contract pharmacies.” Novartis

Pharms., 102 F.4th at 461 (quoting Sanofi, 58 F.4th at 703). Act 358 thus seeks



                                        38
       Case: 24-30651    Document: 36    Page: 48    Date Filed: 01/09/2025




to expand AstraZeneca’s obligations for participating in the 340B Program, by

requiring AstraZeneca to “deliver” 340B-discounted drugs (i.e., to provide

340B discounts) for a different category of transactions (unlimited contract

pharmacy sales) that are not required by AstraZeneca’s PPA.

      The district court nevertheless held that Act 358 does not impair Astra-

Zeneca’s PPA because it “does not change or expand which entities qualify as

‘covered entities.’ ” ROA.994. But regardless of whether the Act changes which

entities qualify for discounts,7 it undeniably expands the category of sales that

qualify: Prior to Act 358, manufacturers were not obligated to provide dis-

counts for unlimited contract pharmacy sales; following the Act’s enactment,

they are obligated to do so. The Act accordingly “undermines the contractual

bargain” into which AstraZeneca entered when it signed its PPA. Sveen, 584

U.S. at 819.

      The district court also reasoned that AstraZeneca’s PPA was not im-

paired because “Act 358 only affects the delivery or acquisition of Section



7
  The district court’s factual premise that Act 358 does not affect which entities
can access 340B discounts is incorrect. As noted above, publicly available doc-
uments indicate that contract pharmacies do not act as agents for covered en-
tities and that contract pharmacies in fact take title of 340B drugs—both of
which undercut the premise that contract pharmacies act only on behalf of the
covered entity. See p. 8, supra (citing Walgreens contract).


                                        39
       Case: 24-30651    Document: 36    Page: 49   Date Filed: 01/09/2025




340B drugs,” rather than their prices. ROA.994. As discussed above, that ar-

gument is wrong. See Section I.B, supra. But even if this Court agrees with

the semantic argument that Act 358 merely requires manufacturers to “de-

liver” 340B-discounted drugs to contract pharmacies, the result is the same:

It is undisputed that the Act imposes under Louisiana law a new obligation

that did not exist—and does not exist—under the PPA. The law’s effect is thus

to bootstrap, onto AstraZeneca’s contractual agreement with the federal gov-

ernment, new and uncontracted-for financial burdens.

      Moreover, the implications of those expanded burdens are undeniable.

Indeed, in the district court, Intervenor itself asserted that Act 358 is aimed

at “generat[ing] revenue for covered entities” from contract pharmacy sales,

including by enabling them to retain “the difference between the insurer’s pay-

ment” for the full cost of an insured patient’s drugs “and the [340B] discounted

price.” ROA.370. This differential “is income to the covered entity.” ROA.370;

see ROA.398 (Act 358 targets limitations on contract pharmacy sales that “de-

prive[] covered entities” of “revenue and savings”); ROA.305 (similar);

ROA.323 (similar). Regardless of whether these sums are described as “reve-

nue,” “income,” or a “savings,” they come directly from manufacturers like

AstraZeneca, who are forced by Act 358 to bear this new financial burden as a



                                        40
       Case: 24-30651    Document: 36    Page: 50   Date Filed: 01/09/2025




consequence of having signed its PPA. That amounts to a significant impair-

ment of the contractual relationship.

      Allied Structural Steel Co. v. Spannaus, 438 U.S. 234 (1978), is instruc-

tive. There, the Supreme Court held that the Contracts Clause prohibited Min-

nesota from requiring a company, after it had agreed to provide pension ben-

efits under specified contractual conditions, to provide additional benefits not

specified in the contract. Id. at 245–51. The problem with that law was that it

“change[d] the company’s obligations”—imposing new obligations beyond

what it had already agreed to—thereby “disrupti[ng] [its] contractual expec-

tations” by “impos[ing] a completely unexpected liability in potentially disa-

bling amounts.” Id. at 246–47. The Court also noted that the Minnesota law

“did not operate in an area already subject to state regulation at the time the

company’s contractual obligations were originally undertaken, but invaded an

area never before subject to regulation by the State.” Id. at 250.

      Act 358 alters AstraZeneca’s expectations under the PPA in the same

way. It forces AstraZeneca to provide 340B discounts for a significant category

of transactions (unlimited contract pharmacy sales) that are not included

within the program in which AstraZeneca agreed to participate. The obliga-

tions imposed by the Act, like the statutory enactments struck down in Allied



                                        41
       Case: 24-30651    Document: 36    Page: 51   Date Filed: 01/09/2025




Structural Steel, were “imposed” by Louisiana only after AstraZeneca had

signed its contract with HHS, and they operate in “an area never before sub-

ject to regulation by the State.” Id.

      The district court dismissed Allied Structural Steel because, in its view,

“the Minnesota law in that case effectively changed the terms of the contract,”

whereas “[h]ere, the terms of the PPA remain unchanged.” ROA.994. But that

response begs the question (assumes its own conclusion). It also ignores that

Act 358 does change the terms of AstraZeneca’s PPA, by imposing new obli-

gations that go substantially beyond what AstraZeneca agreed to. If a seller

enters into a contract agreeing to offer its product within identified parame-

ters (“I agree to provide discounts on Tuesdays”), and then the State passes a

law requiring anyone who signs such a contract to offer its product outside

those parameters (“Because you provide discounts on Tuesdays, you must also

deliver discounted products on Mondays and Wednesdays”), then the State

has materially impaired the parties’ bargained-for agreement.

      The district court was also wrong to conclude that AstraZeneca should

have “reasonably expect[ed]” that Louisiana would enact a regulation like

Act 358. ROA.996. The 340B program had existed for decades (since 1992)

without any efforts by States to regulate 340B sales (or “distribution”).



                                        42
       Case: 24-30651   Document: 36     Page: 52   Date Filed: 01/09/2025




Indeed, the very first state law entering this field was enacted by Arkansas in

2021—long after AstraZeneca signed its PPA. See Allied Structural Steel, 438

U.S. at 250 (“[The challenged state law] did not operate in an area already

subject to state regulation at the time the company’s contractual obligations

were originally undertaken, but invaded an area never before subject to regu-

lation by the State.”). And AstraZeneca entered into its PPA with the reason-

able expectation, consistent with federal law, that it would not be required to

make 340B discounts available for unlimited contract pharmacy sales. There

is simply no factual basis—nor have Defendants attempted to supply any—to

support the notion that AstraZeneca should have anticipated Act 358 when it

signed its PPA over thirty years ago.

      The district court also put great weight on the fact that “[t]he terms of

a PPA effectively mirror [Section 340B].” ROA.994. But that fact undermines,

rather than supports, the court’s conclusion: Per the Third and D.C. Circuits,

Section 340B does not obligate manufacturers to make discounts available for

sales “to an unlimited number of contract pharmacies.” Novartis Pharms., 102

F.4th at 461 (quoting Sanofi, 58 F.4th at 703). So if AstraZeneca’s PPA effec-

tively mirrors its obligations under Section 340B, then the PPA similarly con-

tains no obligation of the sort that Act 358 now imposes.



                                        43
       Case: 24-30651   Document: 36    Page: 53   Date Filed: 01/09/2025




      Nor is there any authority for the bizarre proposition that contracts

backed by federal law should somehow get lesser protection under the Con-

tracts Clause. When manufacturers like AstraZeneca chose to participate in

the 340B program, they did so based on their reasonable expectations about

what their obligations would be under the PPA. The Contracts Clause was

adopted to provide confidence that no subsequent state law will impair such a

contract. That the PPA tracks federal law only serves to reinforce Astra-

Zeneca’s reasonable expectation that the PPA reflected the full extent of its

obligations for participation in the 340B program. In enacting Act 358, Louisi-

ana has imposed new, burdensome state-law obligations on manufacturers,

fundamentally altering the bargain they struck with the federal government

years earlier.

      B.    Defendants Have Not Demonstrated that Act 358 Is
            Reasonably Tailored to Serve a Significant and Legitimate
            Public Purpose

      Act 358’s impairment of AstraZeneca’s PPA does not serve “a significant

and legitimate public purpose.” United Healthcare, 602 F.3d at 627. Louisiana

has never articulated a clear public purpose or interest supporting the Act—

as evident from the vague references to “broad and general social or economic

problem[s]” or “vital interests” of the people. ROA.995 (citations omitted).



                                       44
          Case: 24-30651   Document: 36    Page: 54   Date Filed: 01/09/2025




Indeed, the district court merely speculated that “[t]he state could credibly

argue that Act 358 promotes greater access to discounted drugs.” ROA.995

(emphasis added). But such speculation about what the State “could credibly

argue” falls far short of demonstrating that Act 358 in fact serves a significant

and legitimate purpose. At most, the utter lack of evidentiary support for the

court’s speculation means that “[f]actual questions exist, . . . making summary

judgment inappropriate.” Eastman Kodak Co. v. Image Technical Servs.,

Inc., 504 U.S. 451, 483 (1992).

      Even accepting the district court’s speculation that Act 358 was

designed to “promote[] greater access to discounted drugs,” ROA.995, the

record does not support that the Act is “reasonably necessary” to achieve that

goal. United Healthcare, 602 F.3d at 627. For one thing, the Act cannot be

justified as necessary to promote patient access, because AstraZeneca’s policy

ensures that every covered entity is offered 340B drugs at 340B-discounted

prices. ROA.172. Indeed, its policy goes further, allowing a covered entity to

designate a contract pharmacy if it lacks an on-site pharmacy. ROA.172.

AstraZeneca also provides millions of dollars for patient assistance programs,

to ensure that every patient can obtain needed medications at prices they can

afford.



                                          45
       Case: 24-30651    Document: 36    Page: 55   Date Filed: 01/09/2025




      For another thing, Act 358 does not affect patient access or (in the great

majority of cases) patient pricing: From a patient’s perspective, it makes no

difference whether a prescription is filled by a contract pharmacy, since

“[s]tudies show that most 340B discounts to contract pharmacies are not

passed on to patients, who must pay full price for their drugs.” ROA.40; see

ROA.27, 145. As a report from the HHS Inspector General explained, many

contract pharmacies offer no 340B patient discounts, such that even

“uninsured patients pay the full non-340B price for their prescription drugs at

contract pharmacies.” ROA.27 (quoting HHS-OIG, Memorandum Report:

Contract Pharmacy Arrangements in the 340B Program, OEI-05-13-00431,

at 2 (Feb. 4, 2014), https://oig.hhs.gov/oei/reports/oei-05-13-00431.pdf). Nor

does Louisiana have any legitimate interest in “advanc[ing] the economic

interests” of covered entities and pharmacies “at the expense of companies

like AstraZeneca.” ROA.40. It is well settled that the Contracts Clause

“prohibits special-interest redistributive laws, even if the legislation might

have a conceivable or incidental public purpose” Assn. of Equip. Mfrs. v.

Burgum, 932 F.3d 727, 732 (8th Cir. 2019); accord Apartment Ass’n of Los

Angeles, Cnty., Inc. v. City of Los Angeles, 10 F.4th 905, 912 (9th Cir. 2021)

(“[H]istorical context suggests that the Clause was aimed at all retrospective,



                                        46
       Case: 24-30651     Document: 36    Page: 56   Date Filed: 01/09/2025




redistributive schemes in violation of vested contractual rights.”) (citation

omitted).

      In response, Defendants have provided no evidence that Act 358 is

reasonably necessary to promote, and in fact does promote, increased patient

access. Instead, they have argued that courts must “defer to [the State’s]

legislative judgment as to the necessity and reasonableness” of its law.

ROA.342 (quoting Keystone Bituminous Coal Ass’n v. DeBenedictis, 480 U.S.

470, 505 (1987)); see ROA.389. But where such deference has been found

appropriate, the State actually “set forth rather detailed findings about the

dangers” that its law was meant to address “and the need for legislation” to

combat them. Keystone, 480 U.S. at 486 n.14. It is one thing to defer to express

legislative findings about the need for a particular state law; it is quite another

to rely on justifications articulated in litigation by counsel—especially when

those justifications are contradicted by actual evidence offered by the other

side. Defendants’ attempted reliance on unsubstantiated assertions made in

legal briefs, rather than on evidence or even legislative findings, further

underscores that summary judgment should not have been granted. See Fed.

R. Civ. P. 56(d); ROA.633.




                                         47
      Case: 24-30651     Document: 36    Page: 57   Date Filed: 01/09/2025




                              CONCLUSION

     The Court should reverse the decision below.


Dated: January 9, 2024                   Respectfully submitted,

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                                        48
      Case: 24-30651     Document: 36    Page: 58   Date Filed: 01/09/2025




                       CERTIFICATE OF SERVICE

     I hereby certify that on January 9, 2025, the foregoing document was

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copies were served on counsel of record by operation of the CM/ECF system

on the same date.

Dated: January 9, 2025                       /s/ Allon Kedem
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                                        49
       Case: 24-30651    Document: 36    Page: 59   Date Filed: 01/09/2025




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                                        50
